              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                         Plaintiff,       )
                                          )
        vs.                               )
                                          )      No. 15-05007-01-CR-SW-SRB
ERNEST ANDREW BRITTEN,                    )
                                          )
                         Defendant.       )


                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count Two and admitted to Forfeiture

Allegation contained in the Indictment filed on February 24, 2015.

After cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11, I determined that the

guilty plea was knowledgeable and voluntary, and that the offense

charged is supported by a factual basis for each of the essential

elements of the offense.         I therefore recommend that the plea of

guilty be accepted and that the Defendant be adjudged guilty and have

sentence imposed accordingly.



Date:     October 5, 2015                  /s/ David P. Rush
                                          DAVID P. RUSH
                                          UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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